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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     SCOTT JOHNSON,                                        Case No. 19-cv-07839-SVK
                                   8                     Plaintiff,
                                                                                               ORDER TO SHOW CAUSE RE
                                   9                v.                                         SETTLEMENT
                                  10     SURYA MANAGEMENT, LLC,                                Re: Dkt. No. 21
                                  11                     Defendant.

                                  12           Plaintiff reports that this case has settled. Dkt. 21. All previously-scheduled deadlines and
Northern District of California
 United States District Court




                                  13   appearances are vacated.

                                  14           By October 20, 2020, the parties shall file a stipulation of dismissal. If a dismissal is not filed

                                  15   by the specified date, then the parties shall appear on October 27, 2020 at 1:30 p.m. and show cause,

                                  16   if any, why the case should not be dismissed. Additionally, the parties shall file a statement in

                                  17   response to this Order no later than October 20, 2020, describing with specificity (1) the parties’

                                  18   efforts to finalize settlement within the time provided, and (2) whether additional time is necessary, the

                                  19   reasons therefor, and the minimum amount of time required to finalize the settlement and file the

                                  20   dismissal.

                                  21           If a dismissal is filed as ordered, the Order to Show Cause hearing will be automatically

                                       vacated and the parties need not file a statement in response to this Order.
                                  22
                                               SO ORDERED.
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                                       Dated: September 1, 2020
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                                                                                                        SUSAN VAN KEULEN
                                  27                                                                    United States Magistrate Judge

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